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                            UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

 DALE L. MIESEN, an individual who is
 a shareholder and who is also bringing         Case No. 1:10-cv-00404-DCN
 this action on behalf of and/or in the right
 of AIA Services Corporation and its
 wholly owned subsidiary AIA Insurance,
 Inc.,

               Plaintiff,                       MEMORANDUM DECISION AND
        vs.                                     ORDER

 HAWLEY TROXELL ENNIS &
 HAWLEY LLP, an Idaho limited
 liability partnership; GARY D.
 BABBITT, an individual; D. JOHN
 ASHBY, an individual; RICHARD A.
 RILEY, an individual; AIA SERVICES
 CORPORATION, an Idaho corporation;
 AIA INSURANCE, INC.; an Idaho
 corporation; CROP USA INSURANCE
 SERVICES, LLC; an Idaho limited
 liability company; CROP USA
 INSURANCE AGENCY, INC., an Idaho
 corporation; CONNIE TAYLOR
 HENDERSON, an individual; JOLEE K.
 DUCLOS, an individual; MICHAEL W.
 CASHMAN SR., an individual; JAMES
 BECK, an individual; R. JOHN
 TAYLOR, an individual; and GEMCAP
 LENDING I, LLC, a Delaware limited
 liability company,

               Defendants,

        and

 CROP USA INSURANCE SERVICES,
 LLC, an Idaho limited liability company;
 CROP USA INSURANCE AGENCY,
 INC., an Idaho corporation; CONNIE


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  TAYLOR HENDERSON, an individual;
  JOLEE K. DUCLOS, an individual; R.
  JOHN TAYLOR, an individual;
  MICHAEL CASHMAN SR., an
  individual; JAMES BECK, an individual,

                 Defendants/Third-Party
                 Plaintiffs,

           vs.

  REED TAYLOR, an individual,

                 Third-Party Defendant.


                                     I. OVERVIEW

       This matter comes before the Court on two Motions to Disqualify Attorney

Roderick Bond. Dkts. 275, 278. At the time the Motions were filed, Bond represented

both Plaintiff Dale Miesen and Third-Party Defendant Reed Taylor. After these Motions

were filed, but before briefing was complete, Reed Taylor hired alternate counsel.

Because of this change in circumstances, the Court permitted the parties to file

supplemental briefs. After receiving these supplemental briefs, the Court held oral

argument and took the Motions under advisement. As explained below, the Court finds

good cause to DENY the Motions so long as Reed Taylor proceeds with alternate

counsel.

                            II. FACTUAL BACKGROUND

                           A. The Original Parties and Dispute

       This is a shareholder’s derivative action, the Court’s jurisdiction over which is

based upon diversity of citizenship. Plaintiff Dale Miesen is a minority shareholder of the

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Defendant AIA Services Corporation (“AIA”), the alleged wronged corporation. Donna

Taylor was originally named as a plaintiff in this action. However, the Court dismissed

her, in both her personal and representative capacities, because her presence destroyed

diversity. See Dkt. 178.

              There were originally two groups of defendants in this action. The first group

consists of AIA Services Corporation, AIA Insurance, Inc. (collectively “AIA Entities”),

CropUSA Insurance Agency, CropUSA Insurance Services (collectively “CropUSA”),

and several controlling shareholders and officers of those entities, namely: R. John

Taylor, James Beck, Michael Cashman, Connie Taylor Henderson, and JoLee Duclos1

(individuals, collectively “AIA Controlling Defendants”). The second group consists of

the law firm Hawley Troxell Ennis & Hawley, LLP, and several of its attorneys who

represented the AIA Entities and CropUSA during the events that gave rise to this action,

namely: Gary Babbitt, Richard Riles, and John Ashby (collectively “Hawley Troxell

Defendants”). There is now one additional defendant, GemCap Lending I (“GemCap”).

GemCap first intervened in this action in July of 2016. Later, Miesen asserted claims

against GemCap in the Third Amended Complaint.

              The operative complaint is the Third Amended Complaint. Dkt. 211. In it, Miesen

alleges, among other things, that the AIA Controlling Defendants engaged in fraud and

breached their fiduciary duties to the AIA minority shareholders. AIA was formed in

1983. It sold insurance products to members of farmers’ and growers’ associations and


                                                            
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    JoLee Duclos passed away late last year. See Dkt. 316.


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worked with farmers and growers to form trusts and/or related cooperatives. In the late

1990s, the AIA Board of Directors, controlled by the AIA Controlling Defendants,

decided to begin selling crop insurance through a wholly-owned subsidiary called

CropUSA. Miesen alleges that the AIA Controlling Defendants unlawfully transferred

CropUSA from AIA to their own possession. The AIA Controlling Defendants then

proceeded to unlawfully fund, subsidize, and operate CropUSA using AIA’s assets.

Through their operation of CropUSA, the AIA Controlling Defendants defrauded AIA of

millions of dollars. Miesen also alleges that the AIA Controlling Defendants committed a

“laundry list” of other unlawful acts, self-dealing, malfeasance, and intentional torts.

Miesen has highlighted specific acts Defendant John Taylor allegedly committed. John

Taylor was President of both AIA Entities and CropUSA during all of these events.

Miesen alleges that John Taylor unlawfully transferred real property to AIA, required

AIA to pay the liabilities on the property, unlawfully amended AIA’s Bylaws, and issued

himself Series A Preferred Shares in AIA. Miesen claims that all of the above described

acts hurt AIA’s minority shareholders.

       Hawley Troxell represented both AIA and CropUSA during the relevant

timeframe. Accordingly, Miesen claims the Hawley Troxell Defendants aided and abetted

the fraud the AIA Controlling Defendants perpetuated against AIA and its minority

shareholders and committed legal malpractice.

                      B. Third Party Complaint Against Reed Taylor

       In May 2017, the AIA Controlling Defendants, along with CropUSA, filed a Third

Party Complaint against Reed Taylor. Dkt. 218. Except for short intervals, Reed Taylor


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served as a director for AIA from its founding in 1983 until early 2001. He also served as

an officer of AIA at various times until he redeemed his shares in 1995. In addition, he

served on an advisory board for CropUSA from 1999 until 2007. Based on his

involvement with these entities, the AIA Controlling Defendants assert that if they are

found liable for their actions as officers/directors of AIA and for their actions as members

of the CropUSA advisory board, Reed Taylor should be found jointly liable. The AIA

Controlling Defendants also assert that Reed Taylor accepted millions of dollars in illegal

stock redemption payments from AIA and caused AIA to incur millions of dollars in

legal fees. Accordingly, the AIA Controlling Defendants and CropUSA have asserted

claims for contribution against Reed Taylor for the fiduciary-duty claims and the fraud

claims. Id.

       Reed Taylor denies these allegations. He has also asserted his own counterclaims

against the AIA Controlling Defendants and CropUSA. Dkt. 276. Most of these claims

involve AIA’s 401(k) Profit Sharing Plan (“the Plan”). Specifically, Reed Taylor asserts

class action claims against the AIA Controlling Defendants for breach of fiduciary duties

owed to the Plan participants, in violation of the Employment Retirement Income

Security Act (“ERISA”). Reed Taylor also claims the AIA Controlling Defendants

engaged in transactions prohibited by ERISA.

                      C. Facts Relevant to the Motions to Disqualify

       Attorney Lee Rousso filed the original complaint in this action, on behalf of

Miesen and Donna Taylor, on August 11, 2010. Dkt. 1. Attorney Bond first appeared on

March 18, 2012, on behalf of Donna Taylor. Dkt. 58. Bond then appeared as counsel for


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Miesen on March 23, 2016. Dkt. 122. At that time the Court removed attorney Lee

Rousso from the case. On July 28, 2017, after Reed Taylor was served with the Third

Party Complaint, Bond appeared on Reed Taylor’s behalf. Dkt. 246. A few months later,

on October 31, 2017, the Controlling AIA Defendants and CropUSA filed the first

Motion to Disqualify Bond. Dkt. 275. Four days later, the Hawley Troxell Defendants

followed suit with their own Motion to Disqualify. Dkt. 278.

              On February 13, 2018, Reed Taylor filed a Notice of Substitution of Counsel,

notifying the Court that he was voluntarily dropping Bond as an attorney and replacing

him with Michael S. Bissell of Campbell & Bissell. The Movants2 objected to this

substitution. They argued the substitution does not cure the conflict in interest and the

Court still must disqualify Bond from representing any party in this case.

              It is important to note that Bond has been representing Reed Taylor since as early

as 2007. Since then, Bond has represented Reed Taylor in a handful of disputes involving

AIA, primarily state court actions. For example, Bond has brought suit, on Reed Taylor’s

behalf, against AIA and its directors in a dispute over a stock redemption agreement.

Bond then sued, on Reed Taylor’s behalf, the lawyers involved in the stock redemption

agreement. Bond has also sued AIA, its officers, and other related entities on behalf of

Donna Taylor, Reed Taylor’s ex-wife and a former plaintiff in this lawsuit. The Movants

have described these various suits in their briefs in support of the Motions to Disqualify



                                                            
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 For simplicity’s sake, the Court refers to all of the parties who have brought motions to
disqualify as “Movants.” Similarly, the Court refers to all those opposing the motions to
disqualify, including Miesen, Reed Taylor, and Bond himself, as “Opponents.”


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in detail. See Dkt. 275, 278-1. A comprehensive accounting of these disputes and Bond’s

involvement is not necessary here. However, the Court does acknowledge Bond’s lengthy

and intimate representation of Reed Taylor over the last decade.

                                III. LEGAL STANDARD

       State law governs motions to disqualify counsel. See In re Cnty. of L.A., 223 F.3d

990, 995 (9th Cir. 2000). In Idaho, courts also look to “the Idaho Rules of Professional

Conduct as adopted and interpreted by the Idaho Supreme Court” in determining whether

disqualification of an attorney is proper. Andersen v. Valley Cty., No. 1:16-CV-00554-

CWD, 2017 WL 2311668, at *3 (D. Idaho May 26, 2017); Parkland Corp. v. Maxximum

Co., 920 F. Supp. 1088, 1090 (D. Idaho 1996) (“[I]n deciding whether to disqualify

counsel, the Court looks to the local rules regulating the conduct of the members of its

bar.” (citation omitted)).

       Disqualifying counsel is an exercise of the court’s inherent powers. Anderson v.

Valley Cty, No. 1:16-CV-00554-CWD, 2017 WL 2311668, *3 (D. Idaho May 26, 2017).

“The decision to grant or deny a motion to disqualify counsel is within the discretion of

the trial court.” Foster v. Traul, 175 P.3d 186, 194 (Idaho 2007) (citing Weaver v.

Millard, 819 P.2d 110, 114 (Idaho Ct. App. 1991)). Under Idaho law, “[t]he moving party

has the burden of establishing grounds for the disqualification.” Crown v. Hawkins Co.,

910 P.2d 786, 794 (Idaho Ct. App. 1996). However, “[t]he goal of the court should be to

shape a remedy which will assure fairness to the parties and the integrity of the judicial

process.” Weaver, 819 P.2d at 115. In addition, “[w]henever possible, courts should

endeavor to reach a solution that is least burdensome to the client.” Id. Finally, because


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opposing counsel could potentially misuse a motion to disqualify for tactical purposes,

such motions are subjected to “particularly strict judicial scrutiny.” Optyl Eyewear

Fashion Int’l Corp. v. Style Co., 760 F.2d 1045, 1050 (9th Cir. 1985) (citation omitted).

                                       IV. ANALYSIS

       The Movants argue that disqualification is required by Rule 1.7 of the Idaho Rules

of Profession Conduct. In response, Opponents first argue that the movants do not have

standing to object to Reed Taylor’s choice of counsel as none of them are Bond’s current

or former clients. Second, Opponents argue Reed Taylor’s new counsel cures any conflict

that might require Bond’s disqualification. The Court addresses each of these arguments

in turn.

                                          A. Rule 1.7

       Idaho Rule of Professional Conduct 1.7 provides as follows:

       (a) Except as provided in paragraph (b), a lawyer shall not represent a client
       if the representation involves a concurrent conflict of interest. A concurrent
       conflict of interest exists if:

                (1) the representation of one client will be directly adverse to another
                client; or

                (2) there is a significant risk that the representation of one or more
                clients will be materially limited by the lawyer’s responsibilities to
                another client, a former client or a third person or by the personal
                interests of the lawyer, including family and domestic relationships.

       (b) Notwithstanding the existence of a concurrent conflict of interest under
       paragraph (a), a lawyer may represent a client if:

                (1) the lawyer reasonably believes that the lawyer will be able to
                provide competent and diligent representation to each affected client;

                (2) the representation is not prohibited by law;


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                             (3) the representation does not involve the assertion of a claim by one
                             client against another client represented by the lawyer in the same
                             litigation or other proceeding before a tribunal; and

                             (4) each affected client gives informed consent, confirmed in writing.

Movants argue Bond must be disqualified because Miesen’s interests in this case are

“directly adverse to” Reed Taylor’s interests, in violation of Rule 1.7(a)(1) (“[A] lawyer

shall not represent a client if . . . the representation of one client will be directly adverse

to another client.”). Miesen’s claims in this derivative action seek to protect the interests

of AIA’s minority shareholders. Accordingly, Miesen brought suit against AIA’s

controlling officers and directors. Reed Taylor was at one point an officer and director of

AIA, and the AIA Controlling Defendants have brought a claim for contribution against

Reed Taylor. In essence, the AIA Controlling Defendants argue Miesen should have

named Reed Taylor as a defendant in this lawsuit and Bond’s lengthy client relationship

with Reed Taylor is the only reason he was not included as a defendant. Thus, with

regard to some claims, it appears that it is in Reed Taylor’s best interest for the AIA

Controlling Defendants to be found not liable.3 This interest is directly adverse to

Miesen’s interest.

              Opponents of the Motions to Disqualify argue that there is no conflict of interest

because Miesen and Reed Taylor are “fully aligned.” The main thrust of the argument

seems to be that the third-party claims for contribution against Reed Taylor are baseless

                                                            
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 The Court does not discount the fact that Reed Taylor has asserted his own claims against the
AIA Controlling Defendants and that, for those claims, the interests of Reed Taylor and the AIA
Controlling Defendants are in direct conflict.


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because Reed Taylor was never involved in the malfeasance Miesen outlines in this Third

Amended Complaint. Opponents also explain that Reed Taylor previously discovered

some of this malfeasance, and that he included some of these acts of malfeasance in a

previous lawsuit and in his counterclaims against the AIA Controlling Defendants.

Opponents also point out that, prior to 2017, the AIA Controlling Defendants never

asserted any indemnification or contribution claims against Reed Taylor. Thus, they

argue, the contribution claims are manufactured and, in reality, an attempt to oust Bond

from this lawsuit.

       Some of these arguments are compelling. However, it is too early for the Court to

determine whether the contribution claims the AIA Controlling Defendants have asserted

against Reed Taylor are meritorious. On the face of the pleadings, some of Miesen’s

claims appear to be plainly adverse to Reed Taylor’s interest. Thus, Bond’s

representation of both Miesen and Reed Taylor violates Rule 1.7.

       Moreover, this dual representation appears, under the Rules, to be nonconsentable.

“Paragraph (b)(3) [of Idaho Rule of Processional Conduct] describes conflicts that are

nonconsentable because of the institutional interest in vigorous development of each

client’s position when the clients are aligned directly against each other in the same

litigation or other proceeding before a tribunal.” I.R.P.C. 1.7, Cmt. 17. Even though

Miesen has not asserted a claim directly against Reed Taylor, Bond’s representation of

Miesen in effect “involve[s] the assertion of a claim by one client”—the minority

shareholders—“against another client”—a corporate insider—“in the same litigation.”

I.R.P.C. 1.7(b)(3). By filing the Third-Party Complaint against Reed Taylor for


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contribution, the AIA Controlling Defendants have, in effect, brought Reed Taylor in as

another defendant/joint tortfeasor. Therefore, this is a nonconsentable conflict in

substance, if not in name.

       Finally, the Court notes that Bond’s representation of both Miesen and Reed

Taylor is in conflict with Bond’s duty to maintain the confidences of his clients. See

I.R.P.C. 1.6. It seems highly unlikely that Bond can maintain the confidences of both

clients while also serving as a zealous advocate for both clients. See I.R.P.C. 1.7 Cmt. 30

(“A particularly important factor in determining the appropriateness of common

representation is the effect on client-lawyer confidentiality and the attorney-client

privilege.”).

       In sum, the Court finds, under Rule 1.7, that Bond cannot represent both Miesen

and Reed Taylor. However, this is not the end of the inquiry.

                             B. Standing to Object to Counsel

       Opponents argue that the Court should deny the Motions to Disqualify because

Movants do not have standing to challenge Bond’s dual representation of Miesen and

Reed Taylor. The Idaho Rules of Professional Conduct themselves warn that “the Rules

can be subverted when they are invoked by” parties without standing “as procedural

weapons.” I.R.P.C. Scope. The Rules explain that “[t]he fact that a Rule is a just basis for

a lawyer’s self-assessment, or for sanctioning a lawyer under the administration of a

disciplinary authority, does not imply that an antagonist in a collateral proceeding or

transaction has standing to seek enforcement of the Rule.” Id. However, the Rules do not

foreclose the possibility that an “antagonist” could have standing to enforce the Rule. At


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the same time, the Rules also do not prescribe the circumstances under which an

“antagonist” would have standing to enforce the Rules. Thus, the Court must turn to case

law for guidance.

       The Idaho Court of Appeals faced a similar situation, and a motion to disqualify,

in Weaver v. Millard. The Weaver court first found that the district court properly viewed

the motion “with caution,” as it came, “not from a client or former client of the attorney,

but from an opposing party.” 819 P.2d at 115. The Weaver court then found the district

court did not abuse its discretion in denying the motion to disqualify after applying the

following four-part test:

       (1) Whether the motion is being made for the purposes of harassing the
       defendant, (2) whether the party bringing the motion will be damaged in
       some way if the motion is not granted, (3) whether there are any alternative
       solutions, or is the proposed solution the least damaging possible under the
       circumstances, and (4) whether the possibility of public suspicion will
       outweigh any benefits that might accrue to continued representation.


Id. at 116. Opponents argue Movants must pass this four-part test in order to having

standing to even bring their Motions to Disqualify.

       It is true that none of the Movants are Bond’s current or former clients and that

they seek to enforce the Rules in the face of “an appearance of impropriety” rather than

direct harm. Accordingly, the Court must view the Motions to Disqualify “with caution,”

but its not clear whether the Court must apply the four-part Weaver test.

       Movants argue the four-part Weaver test is discretionary and not required to

establish standing as the Idaho Supreme Court has not mandated this test. It is accurate to

say that the Idaho Supreme Court has yet to require satisfaction of the Weaver test as a


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threshold for standing. For example, in Foster v. Traul, the Idaho Supreme Court

concluded that a district court simply “did not abuse its discretion” in applying the

Weaver test in a similar scenario. 175 P.3d 186, 195 (2007).

       This Court is bound by the decisions of the Idaho Supreme Court, but the high

court has yet to speak directly to this issue. Nevertheless, “[w]hen the state’s highest

court has not squarely addressed an issue, [federal courts] must predict how the highest

state court would decide the issue using intermediate appellate court decisions, decisions

from other jurisdictions, statutes, treatises and restatements for guidance.” All. for Prop.

Rights & Fiscal Responsibility v. City of Idaho Falls, 742 F.3d 1100, 1102 (9th Cir.

2013). In light of Weaver and Foster—and the absence of any alternative tests—this

Court is persuade that the Idaho Supreme Court would apply the four-part Weaver test in

determining whether an opposing party, who is not a current or former client of the

attorney in question, has standing to bring a motion to disqualify counsel. Accordingly,

the Court turns now to an application of that test.

                                       (1) Harassment

       Opponents argue Movants brought the two Motions to Disqualify only to harass

Reed Taylor. As evidence of this harassment, Opponents point to the coordinating timing

of the Motions, the failure to propose alternatives to disqualification, and the fact that the

Hawley Troxell Defendants have not even asserted a claim against Reed Taylor—i.e.

“they have no dog in the fight.” Movants deny this accusation wholeheartedly. Instead,

they insist Bond’s dual representation is a clear violation of the Rules of Professional




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Conduct that could potentially harm them and that needed to be brought to the Court’s

attention.

       The Court sees little evidence of harassment in the record. Rather, as discussed

above, Bond’s dual representation is a violation of the Idaho Rules of Professional

Conduct and does raise serious concerns regarding Bond’s ability to adequately and fairly

represent both Miesen and Reed Taylor. Thus, the Court cannot conclude that Movants

brought these Motions in bad faith.

                                 (2) Damage to Movants

       Opponents argue that Movants will suffer no harm if Bond is permitted to

continue his dual representation. In contrast, Opponents point out the severe harm both

Miesen and Reed Taylor will suffer if they are not permitted to proceed with their

counsel of choice, particularly considering the lengthy history and complex nature of this

case. Movants respond by arguing they will be damaged because Miesen and Reed

Taylor will collude through Bond and, in the process, subvert the third-party claims

against Reed Taylor.

       The Court sees both alleged harms as potentially causing real damage to one or

more parties in this case. However, for the purpose of establishing standing, only the

harm to the Movants is relevant. Considering Bond’s lengthy professional relationship

with Reed Taylor, the Court finds there is a potential for coordination between Miesen

and Reed Taylor that would ultimately harm, or at least disadvantage, Movants during the

course of this litigation.




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                                   (3) Alternative Solutions

       Opponents propose severing the claims brought by and against Reed Taylor as a

means of solving Bond’s conflict of interest. Opponents also criticize Movants for failing

to propose any alternatives besides completely barring Bond from this case. The Court

agrees with Movants that severing the claims brought by and against Reed Taylor is not a

just solution. To accurately determine Reed Taylor’s contribution, if any, to the fiduciary

duty claims and the fraud claims, he must be a party to this case. In addition, a second

suit would waste the resources of both the Court and the parties and risk inconsistent

judgments. The Court also understands Movants arguments as to why permitting Bond to

proceed only as Miesen’s counsel is an unworkable alternative. However, as discussed in

the final section of this Decision, the Court is not persuaded by these arguments.

Nevertheless, the Court finds Movants arguments sufficient to satisfy this prong of the

standing test.

                 (4) Public Suspicion vs. Benefits of Continued Representation

       Finally, Opponents argue the public would be suspicious if Bond, who has

participated in this case for years, was suddenly kicked off, particularly if Hawley

Troxell—a party with no dog in the fight—was the impetus for Bond’s disqualification.

Moreover, Opponents assert Miesen would be greatly harmed if he did not have the

benefit of Bond’s knowledge of this complex case. In response, Movants argue the clear

appearance of impropriety far outweighs any inconvenience Miesen would experience if

forced to find new counsel. Movants reiterate that Bond is attempting to, in essence,

represent both a plaintiff and a defendant in this case, which creates a potential for


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collusion between the two parties, and will pose problems down the road during the

discovery process as the two parties’ positions diverge. The Court cannot say that the

potential for public suspicion clearly outweighs the benefits of permitting Bond to

continue his dual representation of Miesen and Reed Taylor. The Court acknowledges it

will be burdensome for Miesen to find alternate counsel and for that counsel to

familiarize himself or herself with this case. However, as the Court previously explained,

the dual representation is a clear, nonconsentable violation of Rule 1.7, and to allow

Bond to continue his representation in the face of this violation would certainly raise

public suspicion and rouse distrust in the judicial system. Thus, the Court finds the

potential public suspicion is sufficient to satisfy this last prong of the Weaver test.

       Movants have sufficiently met the four parts of the Weaver test. Accordingly, the

Court finds they have standing to bring their Motions to Disqualify and seek enforcement

of the Rules in this case. However, again, the Court’s inquiry does not end here. Despite a

finding that the dual representation violates Rule 1.7, and despite a finding that Movants

have standing to protest this violation, the Court must determine whether the recent

change in circumstances moots the Motions.

                    C. Whether Replacement Cures the Conflict

       Regardless of everything discussed above, Opponents argue the Court

should not disqualify Bond because Reed Taylor has fired Bond and hired Bissell




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as his replacement. Movants primarily argue that Bond’s disqualification is still

required under the “hot potato rule.”4

              “The so-called ‘hot potato rule’ provides that without a proper waiver, ‘a

law firm that knowingly undertakes adverse concurrent representation may not

avoid disqualification by withdrawing from the representation of the less favored

client before hearing.” State Comp. Ins. Fund v. Drobot, 192 F. Supp. 3d 1080,

1114 (C.D. Cal. 2016). This rule aims to protect and reinforce the duty of loyalty

an attorney has to an existing client, which is “so sacred, so inviolate that not even

by withdrawing from the relationship can an attorney evade it.” Id. (internal

quotation marks and citation omitted). The parties have not cited an Idaho case

that discusses or applies the “hot potato rule.” However, it appears logical, applied

throughout other jurisdictions, and consistent with secondary sources. See

Restatement of the Law Governing Lawyers § 132 Cmt. c; see also § 121 Cmt.

e(i). Nevertheless, the hot potato rule does not apply here to force Bond out of this

case.

              The Court finds it significant that Bond did not drop Reed Taylor like a

“hot potato.” Rather, Reed Taylor dropped Bond. Reed Taylor then hired his own


                                                            
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  Movants also argue that Bissell is not exactly independent counsel. Bond and Bissell were
members of the same law firm that represented Reed Taylor in a suit against AIA (Taylor v. AJA
Services Corp., et al., Case No. CV-07-00208) in the District Court of the Second Judicial
District of the State of Idaho, in and for Nez Perce County, and also represented Reed Taylor in a
suit against Riley and Hawley Troxell (Taylor v. Riley, et al., Case No. CV OC 0918868) in the
District Court of the Second Judicial District of the State of Idaho. Dkt. 343 at 3. However,
Movants have not explained why this prior work precludes Bond or Bissell from proceeding on
this case.


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counsel and has made it widely known that he does not object to Bond remaining

as Miesen’s counsel. In doing so, Reed Taylor has consented to Bond’s

participation in this case and waived any further challenge. The cases applying the

hot potato rule have carved out an exception for when “a proper waiver” has been

obtained. See Drobot, 192 F. Supp. 3d at 1114 (explaining that, “without a proper

waiver” a lawyer cannot drop a client like a hot potato); see also W. Sugar Coop.

v. Archer-Daniels-Midland Co., 98 F. Supp. 3d 1074, 1084 (C.D. Cal. 2015)

(noting client did not consent to concurrent representation and finding attorney

could not avoid automatic disqualification “by unilaterally converting a present

client into a former client” (emphasis added)). Unlike a conflict under Rule

1.7(b)(3), it appears this is a scenario in which a client’s informed consent can

cure a conflict of interest. Indeed, nothing in the Rules or case law indicates a

client cannot consent to being dropped like a “hot potato.” In addition, there is no

need to protect the sacred duty of loyalty if the client fires the attorney or

otherwise consents to the attorney terminating his or her representation of the

client.

          Other relevant factors that the Court must consider also favor allowing

Bond to continue in the case, as Miesen’s counsel alone. The Court finds this

remedy is the “least burdensome to” both Miesen and Reed Taylor and “will

assure fairness to the parties and the integrity of the judicial process.” Weaver, 819

P.2d at 115. As noted previously, Miesen would be severely prejudiced if Bond

were disqualified from this highly complex case. It would take any replacement


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counsel a great deal of time and resources to familiarize himself or herself with

this case enough to be a zealous advocate for Miesen. Additionally, having Miesen

and Reed Taylor proceed with separate counsel averts the appearance of

impropriety and the chance of collusion. Accordingly, under both the Rules and

the relevant discretionary factors, the Court finds good cause to DENY the

Motions to Disqualify.

                                                               IV. ORDER

              IT IS HEREBY ORDERED:

       1. The Motion to Disqualify filed by the AIA Controlling Defendants and

              CropUSA (Dkt. 275) is DENIED.

       2. The Motion to Disqualify filed by the Hawley Troxell Defendants (Dkt.

              278) is DENIED.

       3. Roderick Bond may remain in this case as counsel for Dale Miesen.

              Roderick Bond may not represent Reed Taylor in this case.

       4. The Motion to Take Judicial Notice filed by the Hawley Troxell

              Defendants (Dkt. 344) is GRANTED.5

                                                                           DATED: March 16, 2018
                                                                     

                                                                           _________________________
                                                                           David C. Nye
                                                                           U.S. District Court Judge


                                                            
5
  Judicial notice is proper because the documents attached to the Motion are not subject to
reasonable dispute. See Fed. R. Evid. 201.


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